Case 0:20-cv-60885-RKA Document 14 Entered on FLSD Docket 06/15/2020 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

                                      Case No. 20-cv-60885-RKA
  BRANDON THOMPSON,

                  Plaintiff,

  v.

  FORT LAUDERDALE LAW GROUP SOUTH, PLLC,
  A Florida Limited Liability Company,

              Defendant.
  ____________________________________/

               PLAINTIFF’S CERTIFICATE OF INTERESTED PERSONS AND
                       CORPORATE DISCLOSURE STATEMENT

          I hereby disclose the following pursuant to this Court’s interested persons order:

  1.)     The name of each person, attorney, association of persons, firm, law firm, partnership, and

  corporation that has or may have an interest in the outcome of this action – including subsidiaries,

  conglomerates, affiliates, parent corporation, publicly-traded companies that own 10% or more of

  a party’s stock, and all other identifiable legal entities related to any party in the case:

        a. Brandon Thompson – Plaintiff

        b. Noah E. Storch, Esquire - Counsel for Plaintiff

        c. Alexander T. Harne, Esquire – Counsel for Plaintiff

        d. Richard Celler Legal, P.A.- Counsel for Plaintiff

        e. Fort Lauderdale Law Group South, PLLC – Defendant

  2.)     The name of every other entity whose publicly-traded stock, equity, or debt may be

  substantially affected by the outcome of the proceedings:

        a. None known.


                                                     1
Case 0:20-cv-60885-RKA Document 14 Entered on FLSD Docket 06/15/2020 Page 2 of 2



  3.)    The name of every other entity which is likely to be an active participant in the

  proceedings, including the debtor and members of the creditors’ committee (or twenty largest

  unsecured creditors) in bankruptcy cases:

        a.   None other than the persons identified in above.

  4.)    The name of each victim (individual or corporate) of civil and criminal conduct alleged

  to be wrongful, including every person who may be entitled to restitution:

        a.   Brandon Thompson – Plaintiff

         I hereby certify that I am unaware of any actual or potential conflict of interest involving

  the district judge and magistrate judge assigned to this case, and will immediately notify the Court

  in writing on learning of any such conflict.

         Dated this 15th day of June, 2020.

                                                       Respectfully Submitted,

                                                       /s/ Noah E. Storch _
                                                       Noah E. Storch, Esq.
                                                       Florida Bar No.0085476
                                                       RICHARD CELLER LEGAL, P.A.
                                                       10368 W. State Rd. 84, Suite 103
                                                       Davie, Florida 33324
                                                       Telephone: (866) 344-9243
                                                       Facsimile: (954) 337-2771
                                                       E-mail: noah@floridaovertimelawyer.com

                                                       Counsel for Plaintiff

                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 15th day of June, 2020, a true and correct copy of the

  foregoing has been filed using CM/ECF which will send a copy of same to all counsel of record.

                                                               /s/ Noah E. Storch_
                                                               Noah E. Storch, Esq.


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